12 F.3d 204
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carnes HORN, Petitioner,v.BISHOP COAL COMPANY, Director, Office of Works' CompensationPrograms, United States Department of Labor, Respondents.
    No. 93-1900.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  Nov. 19, 1993.Decided:  Dec. 3, 1993.
    
      On Petition for Review of and Order of the Benefits Review Board.
      Carnes Horn, Petitioner Pro Se.
      Douglas Allan Smoot, Jackson &amp; Kelly; Eileen Mary McCarthy, Barbara J. Johnson, United States Department of Labor, for Respondents.
      Ben.Rev.Bd.
      Affirmed.
      Before PHILLIPS, MURNAGHAN, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1993).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Horn v. Bishop Coal Co., No. 88-805-BLA (B.R.B. May 27, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    